                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                  Criminal Action No.
v.                                                05-06032-05/06-CR-SJ-GAF

ISRAEL J. ROCHA and
RAYMOND RIESER

                      Defendant.


                   MEMORANDUM OF MATTERS DISCUSSED AND
                    ACTION TAKEN AT PRETRIAL CONFERENCE

PENDING CHARGE: Defendants are charged with conspiracy to distribute and to possess with
the intent to distribute a mixture containing a detectable amount of methamphetamine in an
amount of 500 grams or more.

The following matters were discussed and action taken during the pretrial conference:

TRIAL COUNSEL:
     Government: Kathleen Mahoney
     Case Agent: Detective Paul Carrington
     Defense: Christopher Harlan for defendant Israel Rocha
              Travis Noble, Jr for defendant Raymond Rieser

OUTSTANDING MOTIONS: The only pending motions relate to co-defendant Snell who is
asking that the case be continued as to her so that she may undergo a mental examination. (See
doc. # 111 and # 112)

TRIAL WITNESSES:
     Government: 18 witnesses without stipulations; 15 with stipulations
     Defendant: The only defense witnesses are possibly the defendants who may testify.

TRIAL EXHIBITS
     Government: 60-100 exhibits
     Defendant: 0 exhibits

DEFENSES: general denial




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POSSIBLE DISPOSITION:
     ( ) Definitely for trial (X) Possibly for trial    ( ) Likely a plea will be worked out

TRIAL TIME: 3- 3 ½ days
     Government’s case including jury selection: 3 days
     Defense case: a couple of hours at most

STIPULATIONS: The parties will attempt to work out stipulations to the chemist report and
chain of custody.

UNUSUAL QUESTIONS OF LAW: None

FILING DEADLINES:
     Witness and Exhibit List: Friday before the pretrial conference
           (Counsel are requested to list witnesses in alphabetical order on their witness
           list.)

       Exhibit Index, Voir Dire, Jury Instructions: Noon, Wednesday, May 17, 2006.
       Please Note: Jury instructions must comply with Local Rule 51.1

       Motion in Limine: None are planned

TRIAL SETTING: Criminal jury trial docket commencing May 22, 2006.
Please note: The parties are requesting the second week of the docket as Mr. Harlan has an out
of town court hearing on May 25, 2006.

IT IS SO ORDERED.



                                                           /s/ Sarah W. Hays
                                                                 SARAH W. HAYS
                                                         United States Magistrate Judge




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